                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                            Case No. 5:18-CV-229-FL

   PANDUIT CORP.,                                       )
                                                        )
                          Plaintiff                     )
                                                        )
           v.                                           )     ORDER OF DISMISSAL
                                                        )     AND FINAL JUDGMENT
   CORNING INCORPORATED,                                )
                                                        )
                          Defendant.                    )
                                                        )
                                                        )



       This is a patent infringement action brought by Plaintiff Panduit Corp. (“Panduit”)

against Defendant Corning Incorporation (“Corning”). (DE 43 ¶ 2). This Court has jurisdiction

over the claims and counterclaims in this action pursuant to 28 U.S.C. §§ 1331, 1338, 2201, and

2202. (Id. ¶ 5; DE 53 at 12). The patents-in-suit in this action are U.S. Patent Nos. 8,351,027

(the “’027 Patent”) and 8,488,115 (the “’115 Patent”) (collectively, “the Asserted Patents”).

Panduit is the owner by assignment of the Asserted Patents. (DE 43 ¶¶ 8-9). Panduit accuses

certain Corning multimode fibers that are made according to processes (“Accused Processes”)

that Panduit contends infringe, literally or under the doctrine of equivalents, one or more of

claims of the Asserted Patents. (DE 43 ¶ 29). In its responsive pleading, Corning (a) denies

infringement of the Asserted Patents and (b) asserts counterclaims of declaratory judgment of

non-infringement and invalidity of the Asserted Patents. (DE 53 at 5-10, 12-16).

       The Court entered a Markman Order on September 27, 2021 construing disputed

limitations of the Asserted Patents. (DE 144, “September 27 Order.”). The Parties to this action

then filed a Stipulation of Dismissal and Final Judgment on November 2, 2021, (DE 153),

stipulating that under the September 27 Order, Panduit cannot prevail on the issue of



          Case 5:18-cv-00229-FL Document 159 Filed 11/10/21 Page 1 of 2
infringement because Panduit cannot prove that Corning’s processes, as understood by Panduit,

infringe the claims of the Asserted Patents. (Id., ¶ 7). Nothing in the stipulation waived any

arguments by Corning, including without limitation the argument that Panduit cannot prevail on

the issue of infringement regardless of this Court’s September 27 Order. (Id., ¶ 8). The same

having been considered and good cause having been shown therefore, IT IS HEREBY

ORDERED:

   1. FINAL JUDGMENT will be entered in favor of Corning and against Panduit that the

       Accused Processes do not infringe the claims of the Asserted Patents under the Court’s

       September 27 Order, and the Clerk is directed to enter Judgment on the docket in this

       case;

   2. Corning’s unadjudicated affirmative defenses and counterclaims of non-infringement and

       invalidity of the Asserted Patents are DISMISSED WITHOUT PREJUDICE in view of

       the Court’s Order, and without prejudice to reassert the foregoing affirmative defenses

       and counterclaims in the event of remand or other assertions by Panduit under the

       Asserted Patents; and

   3. This Order of Dismissal and Final Judgment is without prejudice to the parties’ rights to

       appeal any future orders issued by the Court and is without prejudice to either party’s

       right to file a motion to declare this an exceptional case under 35 U.S.C. § 285 and award

       attorneys’ fees and costs or to file any other motion for attorneys’ fees and/or costs.


                      10 day of November, 2021.
SO ORDERED. This the ___




                                                      LOUISE WOOD FLANAGAN
                                                      United States District Judge

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          Case 5:18-cv-00229-FL Document 159 Filed 11/10/21 Page 2 of 2
